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                                                                                                                                UNITED STATES DISTRICT COURT
                                                                                                     14
                                                                                                                              SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                     15
                                                                                                     16                                           Case No. 3:20-cv-01086-JM-DEB
                                                                                                          THANE CHARMAN, individually
                                                                                                     17   and on behalf of all others similarly   CLASS ACTION
                                                                                                          situated,
                                                                                                     18
                                                                                                                                                  DEFENDANT HOMES.COM, INC.’S
                                                                                                     19                   Plaintiff,
                                                                                                                                                  MOTION TO STAY PROCEEDINGS
                                                                                                     20              v.                           PENDING SUPREME COURT’S
                                                                                                                                                  DECISION IN FACEBOOK INC. V.
                                                                                                     21   HOMES.COM, INC.,                        DUGUID, CASE NO. 19-511, AND
                                                                                                     22                   Defendant.              MEMORANDUM IN SUPPORT OF
                                                                                                                                                  MOTION
                                                                                                     23
                                                                                                                                                  Date: August 17, 2020
                                                                                                     24                                           Time:
                                                                                                     25                                           Honorable Jeffrey T. Miller
                                                                                                                                                  Courtroom: 5D
                                                                                                     26                                           Action filed: June 15, 2020
                                                                                                                                                  No Oral Argument Unless Ordered by the
                                                                                                     27                                           Court
                                                                                                     28
                                                                                                                                                                               MOTION TO STAY
                                                                                                                                                                  Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
                                                                                                      2   ATTORNEYS OF RECORD:
                                                                                                      3         PLEASE TAKE NOTICE that on August 17, 2020, in Courtroom 5D, of the
                                                                                                      4   United States District Court for the Southern District of California, located at 221
                                                                                                      5   West Broadway, San Diego, CA 92101, before the Honorable Judge Jeffrey T. Miller,
                                                                                                      6   Defendant Homes.com, Inc. (“Defendant” or “Homes.com”) will and hereby does
                                                                                                      7   move to stay the instant proceedings pending the Supreme Court’s decision in
                                                                                                      8   Facebook Inc. v. Duguid, Case No. 19-511.
                                                                                                      9         This Motion is based upon this Notice of Motion and Motion, the
                                                                                                     10   accompanying Memorandum of Points and Authorities, the pleadings and the records
                                                                                                     11   on file herein, and on any oral argument or evidence that may be presented at the
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                                                                                                     12   hearing on this Motion.
                                                                     Los Angeles, California 90071




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                                                                                                          Dated: July 15, 2020                     SQUIRE PATTON BOGGS (US) LLP
                                                                                                     14
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                                                                                                                                                   By: /s/Eric J. Troutman
                                                                                                     16                                               Eric J. Troutman
                                                                                                     17
                                                                                                     18                                                 Attorneys for Defendant
                                                                                                                                                        HOMES.COM, INC.
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                                                                                                      1                MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                      2   I.    INTRODUCTION
                                                                                                      3
                                                                                                                Defendant Homes.com, Inc. (“Homes.com”) respectfully moves this Court for
                                                                                                      4
                                                                                                          an order staying further proceedings in this action pending the United States Supreme
                                                                                                      5
                                                                                                          Court’s decision in Facebook Inc. v. Duguid, Case No. 19-511 (“Duguid”).1 On July
                                                                                                      6
                                                                                                          9, 2020, the Supreme Court granted the petition for a writ of certiorari in Duguid to
                                                                                                      7
                                                                                                          consider the following question:
                                                                                                      8
                                                                                                                Whether the definition of ATDS in the TCPA encompasses any device
                                                                                                      9         that can “store” and “automatically dial” telephone numbers, even if the
                                                                                                     10         device does not “us[e] a random or sequential number generator.”
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                                                                                                     11   Duguid v. Facebook Inc., 923 F.3d 1146 (9th Cir. 2019), pet. for cert. granted, No.
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                                                                                                     12   19-511.
                                                                                                     13         The Supreme Court’s decision will provide substantial guidance to this Court
                                                                                                     14   and the parties in resolving this case. See Landis v. N. Am. Co., 299 U.S. 248, 253
                                                                                                     15   (1936) (holding that a stay may be warranted where the resolution of other litigation
                                                                                                     16   would likely “narrow the issues in the pending cases and assist in the determination
                                                                                                     17   of the questions of law involved”). Its decision will directly impact a material dispute
                                                                                                     18   between the parties—that is, what equipment falls within the Telephone Consumer
                                                                                                     19   Protection Act’s (“TCPA”) definition of Automatic Telephone Dialing System
                                                                                                     20   (“ATDS”).     Indeed, to succeed on his TCPA claim, Plaintiff must prove that
                                                                                                     21
                                                                                                          1
                                                                                                     22          In an effort to preserve judicial resources and because the forthcoming Duguid
                                                                                                          Supreme Court decision directly impacts a material issue in dispute in this case—the
                                                                                                     23   definition of an automatic telephone dialing system—Homes.com files this Motion
                                                                                                     24   to Stay Proceedings ahead of the Court-ordered August 6, 2020 deadline for
                                                                                                          Homes.com to respond to the Complaint. See [ECF No. 10]. In seeking a stay,
                                                                                                     25   Homes.com does not waive and expressly preserves all arguments and defenses it
                                                                                                     26   intends to make in response to the Complaint on or before August 6, 2020, including
                                                                                                          but not limited to its position that this case is improperly venued and that this Court
                                                                                                     27
                                                                                                          lacks personal jurisdiction over it for claims being asserted by non-California
                                                                                                     28   putative class members.
                                                                                                                                                                                   MOTION TO STAY
                                                                                                                                                                      Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   Defendant used an ATDS to send the challenged text. See, e.g., Compl. [ECF No. 1]
                                                                                                      2   ¶¶ 24, 25, 28. The Supreme Court’s decision in Duguid will inform the answer to
                                                                                                      3   this question.    Granting a stay of this action will therefore serve the orderly
                                                                                                      4   administration of justice by conserving this Court’s resources pending further
                                                                                                      5   guidance by the Supreme Court and avoiding a ruling based on a definition of ATDS
                                                                                                      6   that conflicts with the Supreme Court’s ultimate interpretation of the TCPA in
                                                                                                      7   Duguid.
                                                                                                      8         “[T]he power to stay proceedings is incidental to the power inherent in every
                                                                                                      9   court to control the disposition of the causes on its docket with economy of time and
                                                                                                     10   effort for itself, for counsel, and for litigants. How this can best be done calls for the
                                                                                                     11   exercise of judgment, which must weigh competing interests and maintain an even
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                                                                                                     12   balance.” Landis, 299 U.S. at 254-55 (citation omitted). District courts within the
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                                                                                                     13   Ninth Circuit have discretionary power to stay proceedings. Lockyer v. Mirant Corp.,
                                                                                                     14   398 F.3d 1098, 1109 (9th Cir. 2005). “This power to stay proceedings includes the
                                                                                                     15   discretion to grant stays ‘pending resolution of independent proceedings which bear
                                                                                                     16   upon the case.’” Henderson v. United Student Aid Funds, Inc., No. 13-CV-1845,
                                                                                                     17   2016 U.S. Dist. LEXIS 154940, at *4 (S.D. Cal. May 3, 2016) (quoting Leyva v.
                                                                                                     18   Certified Grocers of Cal., Ltd., 593 F.2d 857, 863 (9th Cir. 1979)).
                                                                                                     19         In determining whether to stay proceedings, courts within the Ninth Circuit
                                                                                                     20   will balance the interests impacted by granting or refusing a stay by considering the
                                                                                                     21   following factors: “(1) the hardship or inequity upon the non-moving party that
                                                                                                     22   would result from granting the stay, (2) the hardship or inequity upon the moving
                                                                                                     23   party in being required to go forward after denial of the stay, and (3) the orderly
                                                                                                     24   course of justice measured in terms of the simplifying or complicating of issues, proof,
                                                                                                     25   and questions of law that could be expected to result from a stay.” Henderson, 2016
                                                                                                     26   U.S. Dist. LEXIS 154940, at *4 (citing CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th
                                                                                                     27   Cir. 1962)). A stay may be granted if “it appears likely the other proceedings will be
                                                                                                     28
                                                                                                                                                                                      MOTION TO STAY
                                                                                                                                                   -2-                   Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   concluded within a reasonable time in relation to the urgency of the claims presented
                                                                                                      2   to the court.” Leyva, 593 F.2d at 864.
                                                                                                      3         In this case, each of the factors listed above favors granting a stay in this action.
                                                                                                      4   II.   ARGUMENT
                                                                                                      5         A.     Staying This Action Will Promote Judicial Efficiency Because
                                                                                                                       Duguid Bears Directly Upon the Issues in This Case.
                                                                                                      6
                                                                                                      7         Staying these proceedings pursuant to the Supreme Court’s decision in Duguid

                                                                                                      8   will promote judicial efficiency because Duguid will clarify the definition of ATDS,

                                                                                                      9   and Plaintiff’s TCPA claim is dependent on whether Defendant used an ATDS to

                                                                                                     10   send the challenged text. See, e.g., Compl. [ECF No. 1] ¶¶ 24, 25, 28. Thus, the

                                                                                                     11   Supreme Court’s resolution of Duguid unquestionably bears upon the issues in this
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                                                                                                          action.
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                                                                                                     13         Courts within the Ninth Circuit, including this Court, have previously stayed

                                                                                                     14   proceedings pending the resolution of a case by the Supreme Court where the

                                                                                                     15   resolution of the issues on appeal “directly impact the course of [the] litigation.”

                                                                                                     16   Ralph v. HAJ, Inc., No. 17cv1332 JM(JMA), 2017 U.S. Dist. LEXIS 187335, at *8

                                                                                                     17   (S.D. Cal. Nov. 13, 2017); see also In re Sequenom, Inc. Stockholder Litig., No. 16-

                                                                                                     18   cv-02054-JAH-BLM, 2019 U.S. Dist. LEXIS 41875, at *6-7 (S.D. Cal. March 12,

                                                                                                     19   2017) (staying proceedings where decision by the Supreme Court would determine

                                                                                                     20   standard for plaintiff’s claim, further finding that it would be “inconsistent with

                                                                                                     21   judicial principles of efficacy if litigation continued in this action, requiring

                                                                                                     22   additional briefing on, and adjudication of, issues using a standard of law currently

                                                                                                     23   in flux.”); Centeno v. Inslee, 310 F.R.D. 483, 491 (W.D. Wash. 2015) (staying

                                                                                                     24   proceedings where Supreme Court had granted certiorari because a stay would “assist

                                                                                                     25   this Court in resolving the central open legal question in the case”).

                                                                                                     26         The TCPA defines an ATDS as “equipment which has the capacity—(A) to

                                                                                                     27   store or produce telephone numbers to be called, using a random or sequential

                                                                                                     28   number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1). However,
                                                                                                                                                                                      MOTION TO STAY
                                                                                                                                                   -3-                   Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   courts across the country are currently divided as to whether random or sequential
                                                                                                      2   number generation is required for equipment to qualify as an ATDS, or whether
                                                                                                      3   equipment qualifies as an ATDS if it has the capacity to store numbers to be called
                                                                                                      4   and to dial those numbers automatically. While the Ninth Circuit has found that the
                                                                                                      5   definition of an ATDS includes any system that stores numbers and calls them
                                                                                                      6   “automatically,” Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1053 (9th Cir.
                                                                                                      7   2018), the Third, Seventh and Eleventh Circuits have found that an ATDS requires
                                                                                                      8   random or sequential number generation. Dominguez v. Yahoo, Inc., 894 F.3d 116,
                                                                                                      9   121 (3d Cir. 2018); Gadelhak v. AT&T Servs., 950 F.3d 458, 469 (7th Cir. 2020);
                                                                                                     10   Glasser v. Hilton Grand Vacations Co., LLC, 948 F.3d 1301, 1309-10 (11th Cir.
                                                                                                     11   2020). In granting a writ of certiorari in Duguid, the Supreme Court will consider
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                                                                                                     12   the following question:
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                                                                                                     13         Whether the definition of ATDS in the TCPA encompasses any device
                                                                                                     14         that can “store” and “automatically dial” telephone numbers, even if the
                                                                                                                device does not “us[e] a random or sequential number generator.”
                                                                                                     15
                                                                                                     16   Duguid v. Facebook Inc., 923 F.3d 1146 (9th Cir. 2019), pet. for cert. granted, No.
                                                                                                     17   19-511. Courts within the Ninth Circuit have previously recognized the importance
                                                                                                     18   of staying actions arising under the TCPA pending further clarity of the definition of
                                                                                                     19   an ATDS. See, e.g., Castrellon v. Fitness Club Mgmt., LLC, No. CV 17-08825 SJO
                                                                                                     20   (E), 2018 U.S. Dist. LEXIS 226199, at *20 (C.D. Cal. June 6, 2018) (granting stay
                                                                                                     21   pending resolution of Marks by the Ninth Circuit where the decision was “likely to
                                                                                                     22   provide controlling precedent informing this TCPA action” and a stay was “likely to
                                                                                                     23   simplify or be dispositive of the ATDS issues in this action”); Moskowitz v. Am. Sav.
                                                                                                     24   Bank, No. 17-00299 HG-KSC, 2018 U.S. Dist. LEXIS 224640, at *5-6 (D. Haw.
                                                                                                     25   Sept. 4, 2018) (staying proceedings pending Marks “for the purpose of awaiting
                                                                                                     26   resolution of legal issues that bear upon this action,” further finding that “any
                                                                                                     27   potential harm is counterbalanced by the guidance that the Marks decision will
                                                                                                     28
                                                                                                                                                                                   MOTION TO STAY
                                                                                                                                                 -4-                  Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   provide”); Soukhaphonh v. Hot Topic, Inc., No. CV 16-5124-DMG (AGRx), 2018
                                                                                                      2   U.S. Dist. LEXIS 127156, at *7 (C.D. Cal. May 31, 2018) (staying proceedings
                                                                                                      3   pending Marks, finding that the decision “may provide further clarity on the statutory
                                                                                                      4   definition of ATDS”).2 The Supreme Court’s decision will unquestionably provide
                                                                                                      5   material guidance to the parties in this dispute by clarifying the applicable definition
                                                                                                      6   of ATDS. As in Castrellon, Moskowitz, and Soukhaphonh, staying the current
                                                                                                      7   proceedings will simplify the issues in this action pending controlling precedent by
                                                                                                      8   the Supreme Court on the definition of ATDS.
                                                                                                      9         At least one federal court within the Ninth Circuit has considered staying
                                                                                                     10   proceedings pending the Supreme Court’s decision in Duguid. In Hoffman v. Jelly
                                                                                                     11   Belly Candy Co., No. 2:19-cv-01935-JAM-DB, 2020 U.S. Dist. LEXIS 112663 (E.D.
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                                                                                                     12   Cal. June 26, 2020), the Eastern District of California found that waiting for the
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                                                                                                     13   Supreme Court’s decision in Barr v. Am. Ass’n of Political Consultants, No. 19-631,
                                                                                                     14   2020 U.S. LEXIS 3544 (July 6, 2020) and “possibly also Duguid[] will allow this
                                                                                                     15   Court to adjudicate the issues before it with far greater certainty. To do otherwise
                                                                                                     16   would be a waste of judicial resources and a waste of the parties’ time and energy.”
                                                                                                     17   Id. at *6. Finding that the definition of an ATDS was relevant to the dispute, the
                                                                                                     18   Hoffman court granted the defendant’s motion to stay proceedings pending Barr
                                                                                                     19   while “awaiting clarity on the validity of the TCPA in general, and the definition of
                                                                                                     20   an ATDS more specifically” to “allow for a more orderly disposition of this motion.”
                                                                                                     21   Id. (emphasis added).
                                                                                                     22         As in Hoffman, granting a stay in this action would conserve resources that
                                                                                                     23   might be unnecessarily expended, because Duguid will provide clarity on the
                                                                                                     24   definition of ATDS, which will directly impact the course of this litigation. See 2020
                                                                                                     25   2
                                                                                                                Courts within the Ninth Circuit have previously stayed cases pending the
                                                                                                     26   resolution of Duguid at the Ninth Circuit Court of Appeals, recognizing that a stay
                                                                                                          “will simplify the issues” in those cases. Bacon v. Artificial Grass Liquidators
                                                                                                     27   Location 1, Inc., No. 8:18-cv-01220-JLS-ADS, 2019 U.S. Dist. LEXIS 231120, at
                                                                                                     28   *10-11 (C.D. Cal. May 1, 2019).
                                                                                                                                                                                    MOTION TO STAY
                                                                                                                                                  -5-                  Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   U.S. Dist. LEXIS 112663, at *6. Timeliness is also unlikely to be a concern in this
                                                                                                      2   case because, as in Centeno, the stay will likely last “no longer than the year or so it
                                                                                                      3   will take the Supreme Court to decide” Duguid. See 310 F.R.D. at 491. This Court
                                                                                                      4   is faced with a relatively brief timeframe within which Duguid will be resolved: the
                                                                                                      5   Supreme Court granted certiorari in Duguid on July 9, 2020, and is likely to set a date
                                                                                                      6   for oral argument in the fall of 2020. See Nguyen v. MarketSource, Inc., No. 17-cv-
                                                                                                      7   02063-AJB-JLB, 2018 U.S. Dist. LEXIS 80226, at *17 (S.D. Cal. May 11, 2018)
                                                                                                      8   (staying proceedings pending resolution of a Supreme Court case where a decision
                                                                                                      9   was anticipated “sometime [that] year,” finding that “a stay to accommodate that
                                                                                                     10   decision would not be open-ended and will likely be relatively short”) (quotation and
                                                                                                     11   citation omitted). A short stay of limited duration would best serve the interest of
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                                                                                                     12   judicial efficiency by preventing an action from proceeding that will certainly be
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                                                                                                     13   impacted by the Supreme Court’s decision in Duguid. See St. Louis Heart Ctr., Inc.
                                                                                                     14   v. Athenahealth, Inc., No. 4:15-CV-01215-AGF, 2015 U.S. Dist. LEXIS 150776, at
                                                                                                     15   *13-14 (E.D. Mo. Nov. 4, 2015) (granting stay for TCPA claims pending resolution
                                                                                                     16   of a Supreme Court case interpreting the TCPA, explaining that the “finite and
                                                                                                     17   moderate” stay “will conserve significant resources without unfair prejudice or
                                                                                                     18   burden on the Plaintiff.”).
                                                                                                     19         Several other courts have also considered staying proceedings pending the
                                                                                                     20   resolution of Duguid, and each court based its decision to deny the stay, entirely or
                                                                                                     21   partially, on the fact that the Supreme Court had not yet granted certiorari in Duguid,
                                                                                                     22   which is no longer a concern. See, e.g., Calhoun v. FLRish, Inc., No. 19-cv-08212-
                                                                                                     23   JCS, 2020 U.S. Dist. LEXIS 84485, at *6-7 (N.D. Cal. May 13, 2020) (declining to
                                                                                                     24   stay proceedings “based on the mere possibility of certiorari in Duguid”); A.M. v.
                                                                                                     25   Bridgecrest Acceptance Corp., No. 4:20-cv-00553-SEP, 2020 U.S. Dist. LEXIS
                                                                                                     26   112936, at *8 (E.D. Mo. June 26, 2020) (noting that “were the Supreme Court to
                                                                                                     27   grant certiorari in [Duguid], there might be good reason to stay this case pending
                                                                                                     28
                                                                                                                                                                                    MOTION TO STAY
                                                                                                                                                  -6-                  Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   resolution of that one.”); Neal v. Wal-Mart Stores, Inc., No. 3:17-CV-022-KDB-
                                                                                                      2   DCK, 2020 U.S. Dist. LEXIS 88203, at *5 (W.D.N.C. May 18, 2020) (declining to
                                                                                                      3   “stay this matter indefinitely” because the Supreme Court had not yet granted
                                                                                                      4   certiorari in Duguid); Stanley v. Capital One Fin. Corp., No. 7:19-CV-00337, 2020
                                                                                                      5   U.S. Dist. LEXIS 2407, at *10 (W.D. Va. Jan. 8, 2020) (declining to stay proceedings
                                                                                                      6   pending Duguid because “the Supreme Court has not yet scheduled the case for oral
                                                                                                      7   argument or even agreed to grant certiorari”) (emphasis added). The question of
                                                                                                      8   certiorari in Duguid is no longer a “mere possibility,” see Calhoun, 2020 U.S. Dist.
                                                                                                      9   LEXIS 84485, at *6-7, and accordingly, a stay is warranted. While the court in
                                                                                                     10   Stanley declined to stay proceedings pending Duguid because it sought to “prevent[]
                                                                                                     11   an indefinite stay,” 2020 U.S. Dist. LEXIS 2407, at *11, this Court would not be
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                                                                                                     12   granting an indefinite stay because the Supreme Court has already granted certiorari
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                                                                                                     13   in Duguid. As in Nguyen, where this Court stayed proceedings pending the resolution
                                                                                                     14   of a separate case before the Supreme Court, “judicial economy clearly warrants a
                                                                                                     15   stay” because Duguid “will have an imperative impact on this case and will also
                                                                                                     16   simplify the issues before the Court.” 2018 U.S. Dist. LEXIS 80226, at *18-19.
                                                                                                     17         B.    Plaintiff Would Not Suffer Damage if a Stay Were Granted,
                                                                                                                      Because a Stay is in the Best Interest of Both Parties.
                                                                                                     18
                                                                                                     19         As in Hoffman, where the court granted a stay pending the resolution of Barr

                                                                                                     20   and “possibly” Duguid because “[t]o do otherwise would be a waste of judicial

                                                                                                     21   resources and a waste of the parties’ time and energy,” a stay of the action at hand

                                                                                                     22   would favor both Plaintiff and Homes.com. See 2020 U.S. Dist. LEXIS 112663, at

                                                                                                     23   *6. Just as in Hoffman, the “definitional problem” of what equipment constitutes an

                                                                                                     24   ATDS is relevant to this dispute, as Plaintiff’s TCPA claim turns on whether

                                                                                                     25   Homes.com used an ATDS to contact him. Id.; see, e.g., Compl. [ECF No. 1] ¶¶ 24,

                                                                                                     26   25, 28. And if Plaintiff can get beyond the pleadings stage, class discovery, class

                                                                                                     27   certification expert disclosure, and class certification briefing will follow, at

                                                                                                     28   substantial time and expense. And given the Ninth Circuit’s decision in Marks,
                                                                                                                                                                                  MOTION TO STAY
                                                                                                                                                -7-                  Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   Homes.com would also be required to litigate this action based on a definition of
                                                                                                      2   ATDS that could be invalidated by the Supreme Court in Duguid. Because the claims
                                                                                                      3   and defenses in this dispute will undeniably be impacted by the Supreme Court’s
                                                                                                      4   decision in Duguid, granting a stay will allow both parties to save the time and
                                                                                                      5   expense associated with the putative class proceedings until the definition of an
                                                                                                      6   ATDS is clarified. As in Castrellon, where the Central District of California stayed
                                                                                                      7   proceedings pending clarity on the definition of an ATDS on the basis that “minimal,
                                                                                                      8   if any, damage would result from a stay of this proceeding” and that the plaintiff
                                                                                                      9   “may benefit from Ninth Circuit guidance on the ATDS issue,” any damage resulting
                                                                                                     10   from a stay of the instant action would be minimal, as a stay would benefit both
                                                                                                     11   parties. See 2018 U.S. Dist. LEXIS 226199, at *19.
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                                                                                                     12         This is especially true given the early stage of this litigation. In Nguyen, this
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                                                                                                     13   Court stayed proceedings pursuant to a separate Supreme Court case on the grounds
                                                                                                     14   that doing so would “conserve judicial resources that would otherwise be
                                                                                                     15   unnecessarily expended challenging pleadings and litigating class certification
                                                                                                     16   issues.” 2018 U.S. Dist. LEXIS 80226, at *19-20. The Court expressly found that
                                                                                                     17   “it would prove to be an extraordinary waste of time and money to continue litigating
                                                                                                     18   this case only to have to do it all again because the experts, the parties and the Court
                                                                                                     19   were proceeding under a legal framework that the Supreme Court determined did not
                                                                                                     20   apply.” Id. at *20. The same is true here: it would be a waste of time and money for
                                                                                                     21   both parties to continue litigating this action based on a definition of ATDS that the
                                                                                                     22   Supreme Court could later invalidate in Duguid.
                                                                                                     23         Additionally, these proceedings are similar to those in St. Louis Heart Ctr.,
                                                                                                     24   where the Eastern District of Missouri stayed proceedings pursuant to an FCC
                                                                                                     25   decision interpreting the TCPA on the grounds that “staying the case now would not
                                                                                                     26   significantly disrupt the litigation process” because “the parties have conducted little,
                                                                                                     27   if any, discovery; and other than the instant motions, no substantive issues have been
                                                                                                     28
                                                                                                                                                                                     MOTION TO STAY
                                                                                                                                                  -8-                   Case No. 3:20-CV-01086-JM-DEB
                                                                                                      1   or are scheduled to be litigated.” 2015 U.S. Dist. LEXIS 150776, at *12-13.
                                                                                                      2   Similarly, no discovery has yet been conducted in this case, and no additional issues
                                                                                                      3   are scheduled to be litigated. Staying this action would preserve the time and
                                                                                                      4   resources of both parties to the action.
                                                                                                      5          Because the case is at an even earlier stage in the litigation process than St.
                                                                                                      6   Louis Heart Ctr., a stay of this litigation would not disrupt the litigation and would
                                                                                                      7   not unduly prejudice Plaintiff. See id. at *12-13. Additionally, as this Court found
                                                                                                      8   in Nguyen, granting a stay would conserve resources that would otherwise be
                                                                                                      9   unnecessarily expended litigating class certification issues. 2018 U.S. Dist. LEXIS
                                                                                                     10   80226, at *19-20. Given that the decision in Duguid is likely to be made “within a
                                                                                                     11   reasonable time in relation to the urgency of the claims presented to the [C]ourt,”
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                                                                                                     12   Leyva, 593 F.2d at 864, there is no risk of “irreparable damage and a miscarriage of
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                                                                                                     13   justice” if this action is stayed. CMAX, 300 F.2d at 268. Granting a stay in this
                                                                                                     14   action therefore would not prejudice Plaintiff, and would, in fact, benefit both parties
                                                                                                     15   to this dispute.
                                                                                                     16   III.   CONCLUSION
                                                                                                     17          Good cause exists to grant a limited stay until the Supreme Court issues its
                                                                                                     18   decision in Facebook Inc. v. Duguid, Case No. 19-511. The requested stay will not
                                                                                                     19   prejudice Plaintiff, and will provide meaningful benefit to this Court and all the
                                                                                                     20   parties. Homes.com therefore respectfully requests that this Court grant this Motion
                                                                                                     21   and stay this action.
                                                                                                     22
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                                                                                                                                                                                    MOTION TO STAY
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                                                                                                      1   Dated: July 15, 2020   SQUIRE PATTON BOGGS (US) LLP
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